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                         Exhibit D
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    -----Original Message-----
    From: Dr. Duke [ernestduke@hotmail.com]
    Sent: Monday, March 12, 2018 12:18 PM Eastern Standard Time
    To: Philip Bowman
    Subject: Re: From Dr. Duke to Phillip Bowman Agreeable Conference time!

    Just spoke to my associates. Would tomorrow Tuesday at 4:30 ET be
    acceptable.

    It is hard to get everything together in such short notice

    Thanks,

    Dr. David Duke


    On 3/12/2018 9:18 AM, Philip Bowman wrote:
    > That time is acceptable. Please tell me the best number to call.
    >
    > -----Original Message-----
    > From: Dr. Duke [mailto:ernestduke@hotmail.com]
    > Sent: Sunday, March 11, 2018 12:37 PM
    > To: Philip Bowman; Philip Bowman
    > Subject: From Dr. Duke to Phillip Bowman Agreeable Conference time!
    >
    > I was away from the office when your Fedex arrived and just learned of your proposal. I hope you
    can give me a bit more notice in the future for conferences.
    >
    > My advisers and I will be happy to confer with you on an amicable resolution of the subpoena issues.
    >
    > We suggest to you the time 3 pm CST on Monday afternoon if that suits your schedule.
    >
    > Thank you,
    >
    > Dr. David Duke
    >
    >
    >
    > The information contained in this electronic message is confidential information intended only for the
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